     Case 1:12-cr-00323-WSD-CMS Document 1 Filed 09/25/12 Page 1 of 5
                                                                          FILED IN CHAMBERS
                                                                             SF
                    IN THE UNITED STATES DISTRICT COURT
GINAL                                                                   U.S. MAGISTRATE JUDGE
                  FOR THE NORTHERN DISTRICT OF GEORGIA                       ^ Q GEORGIA
                                ATLANTA DIVISION
UNITED STATES OF AMERICA
                                                      CRIMINAL INDICTMENT
             V.
                                                      NO.              - CR. 3 2 3
EDWARD K. KIM,




THE GRAND JURY CHARGES THAT:


                                     COUNT ONE

      On or about August 17, 2012 i n the Northern D i s t r i c t                     of

Georgia, defendant EDWARD K. KIM d i d knowingly and u n l a w f u l l y take

and obtain personal property belonging t o Bejewel, located a t 553 0

Windward Parkway, Suite 1240, Alpharetta, Fulton County, Georgia,

which business was then engaged i n i n t e r s t a t e commerce and i n an

industry    which    a f f e c t s f o r e i g n and i n t e r s t a t e commerce, s a i d

personal property c o n s i s t i n g of United States currency,              from the

person of, and i n the presence of an employee of Bejewel,                        against

her w i l l , by means of a c t u a l and threatened         force, v i o l e n c e , and

fear of i n j u r y , to the person of s a i d employee, and by doing such

acts d i d u n l a w f u l l y obstruct, delay, and a f f e c t commerce, as that

term i s defined i n T i t l e 18, United States Code, Section 1951, a l l
      Case 1:12-cr-00323-WSD-CMS Document 1 Filed 09/25/12 Page 2 of 5



i n v i o l a t i o n of T i t l e 18, United States Code, Section 1951.



                                    COUNT TWO

      On o r about August 17, 2 012,           i n the Northern D i s t r i c t of

Georgia, defendant EDWARD K. KIM, d i d use and carry a firearm

during and i n r e l a t i o n t o a crime of v i o l e n c e , that i s , the armed

robbery charged i n Count One above, an offense                   f o r which the

defendant may be prosecuted i n a court of the United States; a l l i n

violation       of     Title     18,     United      States      Code,      Section

924 (c) (1) (A) ( i i ) .



                                   COUNT THREE

      On o r about August 17, 2012, i n the Northern D i s t r i c t of

Georgia, the defendant, EDWARD K. KIM, with i n t e n t t o cause death

and serious b o d i l y harm, d i d take a motor v e h i c l e that had been

transported      i n f o r e i g n commerce, from the person and presence of

another by force and violence and i n t i m i d a t i o n , i n v i o l a t i o n of

T i t l e 18, United States Code, Section 2119.



                                    COUNT FOUR

       On o r about August 17, 2 012,          i n the Northern D i s t r i c t of

Georgia, defendant EDWARD K. KIM, d i d use and carry a firearm

during and i n r e l a t i o n t o a crime of v i o l e n c e , that i s , the robbery
       Case 1:12-cr-00323-WSD-CMS Document 1 Filed 09/25/12 Page 3 of 5



of a motor v e h i c l e or c a r j a c k i n g charged i n Count Three above, an

offense f o r which the defendant may be prosecuted i n a court of the

United States; a l l i n v i o l a t i o n , of T i t l e 18, United States Code,

Section 9 2 4 ( c ) ( 1 ) ( A ) ( i i ) .



                                            COUNT FIVE

        On    o r about August 18, 2012 i n the Northern                    D i s t r i c t of

Georgia, defendant EDWARD K. KIM d i d knowingly and u n l a w f u l l y take

and obtain personal property belonging to R i t e A i d , located at 3610

Peachtree I n d u s t r i a l Boulevard, Duluth, Gwinnett County, Georgia,

which business was then engaged i n i n t e r s t a t e commerce and i n an

i n d u s t r y which a f f e c t s i n t e r s t a t e commerce, s a i d personal property

c o n s i s t i n g of United States currency, from the person of, and i n

the presence of an employee of R i t e A i d , against her w i l l , by means

of a c t u a l and threatened force, v i o l e n c e , and fear of i n j u r y , t o

the person of s a i d employee, and by doing such acts d i d u n l a w f u l l y

obstruct, delay, and a f f e c t commerce, as that term i s defined i n

T i t l e 18, United States Code, Section 1951,                 a l l i n v i o l a t i o n of

T i t l e 18, United States Code, Section 1951.



                                            COUNT SIX

        On    o r about August 18, 2012,                 i n the Northern      D i s t r i c t of

Georgia,       defendant EDWARD K. KIM, d i d use and c a r r y a firearm
      Case 1:12-cr-00323-WSD-CMS Document 1 Filed 09/25/12 Page 4 of 5



during and i n r e l a t i o n t o a crime of v i o l e n c e , that i s , the armed

robbery       charged i n Count Five above, an offense f o r which the

defendant may be prosecuted i n a court of the United States; a l l i n

violation        of         Title      18,   United    States     Code,        Section

924 (c) (1) (A) ( i i ) .



                                         COUNT SEVEN

       On or about August 20, 2012, i n the Northern                    D i s t r i c t of

Georgia, defendant, EDWARD K. KIM, then being an unlawful user of

a c o n t r o l l e d substance as defined i n T i t l e 21, United States Code,

S e c t i o n 802, d i d knowingly possess i n and a f f e c t i n g commerce, a

f i r e a r m and ammunition, that i s , a .38 c a l i b e r Smith & Wesson

revolver,      containing           s i x Remington rounds of ammunition, s a i d

f i r e a r m which had been shipped and transported i n i n t e r s t a t e and

f o r e i g n commerce, i n v i o l a t i o n of T i t l e 18, United States Code,

Sections 922(g)(3) and 924(a)(2).



                                    FORFEITURE PROVISION

       Upon c o n v i c t i o n of one or more of the offenses a l l e g e d i n

Counts     Two, Four,          S i x , Seven and Eight     of t h i s    Indictment,

defendant EDWARD K. KIM s h a l l f o r f e i t to the United States pursuant

to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c),                  a l l firearms and

ammunition involved i n the commission of the offense, i n c l u d i n g but
      Case 1:12-cr-00323-WSD-CMS Document 1 Filed 09/25/12 Page 5 of 5



not l i m i t e d to the f o l l o w i n g :

       One .38 c a l i b e r Smith & Wesson revolver and ammunition

       seized with s a i d firearm.

A l l pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).




                                                                      BILL



                                                FOREPERSON




SALLY Q U I L L I A N YATES
U N I T E D S T A T E S I^TTORNEY
           /i

J O S E P H PLUMMER
A S S I S T A N T U N I T E D STATES ATTORNEY
GE0~R'GIA BAR NO. 0 03 006

600 U.S. Courthouse
75 Spring Street, S.W.
A t l a n t a , GA 3 03 03
404/581-6055
